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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

TEXAS ASSOCIATION FOR THE          §           No. 1:22-CV-417-DAE
RIGHTS OF THE UNEMPLOYED,          §
KATHRYN KAWAZOE, STEPHANIE §
STOUT, KIMBERLY HARTMAN, and §
CHARLES HARMON, JESUS              §
DUARTE,                            §
                                   §
               Plaintiffs,         §
                                   §
vs.                                §
                                   §
EDWARD SERNA, Executive Director, §
Texas Workforce Commission, in his §
official capacity,                 §
                                   §
               Defendant.          §

  ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT’S
       FIRST AMENDED MOTION FOR PARTIAL DISMISSAL

             The matter before the Court is Defendant Edward Serna, Executive

Director of the Texas Workforce Commission, in his official capacity’s

(“Defendant” or “Serna”) First Amended Motion for Partial Dismissal. (Dkt.

# 13.) On March 8, 2023, the Court held a hearing on this matter. After careful

consideration of the memoranda filed in support of and in opposition to the motion,

as well as arguments of counsel at the hearing, the Court, for the reasons that

follow, GRANTS IN PART and DENIES IN PART the motion for partial

dismissal.
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                                   BACKGROUND

             On May 3, 2022, Plaintiffs Texas Association for the Rights of the

Unemployed (“TARU”), Kathryn Kawazoe, Stephanie Stout, Kimberly Hartman,

Charles Harmon, and Jesus Duarte (collectively, “Plaintiffs”) filed suit in this

Court, challenging the Texas Workforce Commission’s (“TWC”) administration of

Covid-19 pandemic unemployment compensation programs. (Dkt. # 1.) Plaintiffs’

amended complaint seeks relief pursuant to 42 U.S.C. § 1983 based on

Defendants’ alleged denial of Plaintiffs’ due process rights guaranteed by the

Fourteenth Amendment, as well as for violations of the Social Security Act,

42 U.S.C. § 503(a)(1). (Id.)

      A.     Social Security Act

             In 1935, Congress passed the Social Security Act, creating the

framework for state unemployment compensation programs nationwide. In

California Department of Human Resources Development v. Java, the Supreme

Court examined the legislative history of the Social Security Act, observing that

the purpose of unemployment compensation was “to give prompt if only partial

replacement of wages to the unemployed, [and] to enable workers ‘to tide

themselves over until they get back to their old work or find other employment,

without having to resort to relief.’” 402 U.S. 121, 131 (1971) (quoting H.R. Rep.

No. 615, 74th Cong., 1st Sess., 7 (1935)).

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             Among others, the Social Security Act requires states to administer

benefits in a manner that is “reasonably calculated to insure full payment of

unemployment compensation when due,” and for states to provide an

“[o]pportunity for a fair hearing, before an impartial tribunal, for all individuals

whose claims for unemployment compensation are denied.” 42 U.S.C.

§ 503(a)(1), (3). In Texas, the Social Security Act’s unemployment provisions are

administered by the TWC pursuant to the Texas Unemployment Compensation Act

(“TUCA”), and the regulations promulgated by the TWC thereunder. See Tex.

Labor Code § 201 et seq. The TUCA and TWC provide that unemployed Texans

may apply for and receive unemployment benefits if they meet the criteria set forth

in the TUCA so long as they continue to remain eligible. Id. § 207.021; 40 Tex.

Adm. Code § 815.

      B.     The CARES Act

             On March 27, 2020, Congress passed the Coronavirus Aid, Relief, and

Economic Security Act, 15 U.S.C. § 9001, et seq., commonly denominated the

CARES Act, which created new, temporary, federal unemployment insurance

programs. Congress has amended the CARES Act twice since its passage for the

purpose of extending the time period of its coverage. The CARES Act established

Pandemic Unemployment Assistance (“PUA”), a temporary federal unemployment

program that provided up to seventy-nine weeks of benefits to certain individuals

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who were not otherwise eligible for state unemployment insurance benefits. The

CARES Act states that “the Secretary shall provide to any covered individual

unemployment benefit assistance while such individual is unemployed, partially

employed, or unable to work for the weeks of such unemployment with respect to

which the individual is not entitled to any other unemployment compensation. . . .”

15 U.S.C. § 9021(b). “Covered individuals” are, in relevant part, those individuals

who are not eligible for certain other compensation or benefits, and who are

otherwise able to and available for work under state law, but are unemployed,

partially unemployed, or unable or unavailable to work for certain designated

reasons relating to the COVID-19 pandemic. 15 U.S.C. § 9021(a)(3).

             The CARES Act distributes PUA benefits through states, requiring

that: “[t]he Secretary shall provide the assistance authorized under subsection (b)

through agreements with States which, in the judgment of the Secretary, have an

adequate system for administering such assistance through existing State agencies,

including procedures for identity verification or validation and for timely payment,

to the extent reasonable and practicable.” 15 U.S.C. § 9021(f)(1). The amount of

unemployment compensation paid by a state for individuals such as Plaintiffs, who

are or were allegedly unemployed due to the COVID-19 pandemic, is “computed

under the provisions of applicable State law,” 20 C.F.R. § 625.6(a), and increased

by a weekly payment of either $600 or $300, depending on the time period of the

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unemployment, 15 U.S.C. § 9023(b)(3)(A). 15 U.S.C. § 9021(d)(2). States are in

turn reimbursed for the assistance they provide and for administrative expenses.

Id. § 9021(f)(2).

             On March 28, 2020, Defendant Serna, acting as the designee of the

Governor on behalf of the state of Texas, entered into an agreement with DOL to

pay PUA to unemployed Texans through the TWC. (Dkt. # 12-1.) In the

agreement, TWC agreed to administer PUA under the requirements of the Social

Security Act. (Id.) In August of 2020, the TWC announced that it had begun an

agency-initiated audit to identify fraudulent activity among unemployment

claimants. (Dkt. # 12-2.)

             On December 27, 2020, the unemployment provisions of the CARES

Act, including PUA, were extended through March 14, 2021, by the Continued

Assistance for Unemployed Workers Act of 2020, Pub. L. No. 116-260, §§ 201,

203-204, 206. On March 11, 2021, PUA and other benefits were further extended

through September 6, 2021, by the American Rescue Plan Act of 2021. Pub. L. No.

117-2, §§ 9011, 9013-9014, 9016. On September 6, 2021, the temporary programs

expired. However, prior to that date, on May 17, 2021, the Governor of Texas sent

a letter to the Secretary of DOL stating that Texas would “terminate its

participation in the Agreement Implementing the Relief for Workers Affected by

Coronavirus Act, effective June 26, 2021.” https://gov.texas.gov/uploads/

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files/press/O-WalshMartin202105171215.pdf. The Governor asserted that “these

unemployment benefits [are] no longer necessary.” Id. He further stated that

“[t]he termination of this agreement means that Texas will opt out of . . . Pandemic

Unemployment Assistance . . . .” Id.

      C.     Plaintiffs’ Claims

             Plaintiff TARU is “a membership organization composed of

individuals who believe their unemployment rights have been wrongfully denied.”

(Dkt. #12 at 35.) TARU’s “purpose is to assist Texans who believe they have been

wrongfully denied the right to due process of law and other federal rights related to

the receipt of unemployment benefits.” (Id.) The individual plaintiffs are residents

of the state of Texas, who allegedly lost their employment due to the COVID-19

pandemic and received some sort of PUA assistance, but were eventually denied

further PUA benefits, denied PUA backpay, or were subject to a determination of

overpayment of PUA benefits.

             Plaintiffs allege four claims against Defendants pursuant to § 1983 for

violations of the Social Security Act and for denial of Plaintiffs’ due process rights

guaranteed by the Fourteenth Amendment: (1) failing to provide notice and an

opportunity to be heard to audited claimants; (2) untimely redetermining eligibility

for audited claimants; (3) failing to provide timely first-level appeals; (4) failing to




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provide determinations and notices of waiver of overpaid CARES Act benefits;

and (5) failing to provide adequate notice of adverse determinations. (Dkt. # 12.)

               On July 13, 2022, Defendant filed an amended motion for partial

dismissal of Plaintiffs’ claims. (Dkt. # 13.) On July 27, 2022, Plaintiffs filed a

response in opposition. (Dkt. # 21.) On August 3, 2022, Defendant filed his reply.

(Dkt. # 22.)

                                APPLICABLE LAW

               Defendant has moved to dismiss Plaintiffs’ claims pursuant to both

Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure. (Dkt. # 13.)

      A.       Rule 12(b)(1)

               A motion to dismiss under Rule 12(b)(1) of the Federal Rules of Civil

Procedure challenges a federal court’s subject matter jurisdiction. See Fed. R. Civ.

P. 12(b)(1). Under Rule 12(b)(1), a claim is properly dismissed for lack of subject

matter jurisdiction when a court lacks statutory or constitutional authority to

adjudicate the claim. Home Builders Assoc. of Mississippi, Inc. v. City of

Madison, 143 F.3d 1006, 1010 (5th Cir. 1998). When a Rule 12(b)(1) motion is

filed in conjunction with other Rule 12 motions, courts should consider the

“jurisdictional attack before addressing any attack on the merits.” Ramming v.

United States, 281 F.3d 158, 161 (5th Cir. 2001). The Court must first address

subject matter jurisdiction because, without it, the case can proceed no further.

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Ruhrgas Ag v. Marathon Oil Co., 526 U.S. 574, 583 (1999); Ramming, 281 F.3d at

161.

             In considering a Rule 12(b)(1) motion to dismiss for lack of subject

matter jurisdiction, “a court may evaluate (1) the complaint alone, (2) the

complaint supplemented by undisputed facts evidenced in the record, or (3) the

complaint supplemented by undisputed facts plus the court’s resolution of disputed

facts.” Den Norske Stats Oljeselskap As v. HeereMac Vof, 241 F.3d 420, 424 (5th

Cir. 2001) (citation omitted).

       B.    Rule 12(b)(6)

             Federal Rules of Civil Procedure 12(b)(6) authorizes dismissal of a

complaint for “failure to state a claim upon which relief can be granted.” When

analyzing a motion to dismiss for failure to state a claim, the court “accept[s] ‘all

well pleaded facts as true, viewing them in the light most favorable to the

plaintiff.’” United States ex rel. Vavra v. Kellogg Brown & Root, Inc., 727 F.3d

343, 346 (5th Cir. 2013) (quoting In re Katrina Canal Breaches Litig., 495 F.3d

191, 205 (5th Cir. 2007)). The court “must consider the complaint in its entirety,

as well as other sources courts ordinarily examine when ruling on Rule 12(b)(6)

motions to dismiss, in particular, documents incorporated into the complaint by

reference, and matters of which a Court may take judicial notice.” Funk v. Stryker



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Corp., 631 F.3d 777, 783 (5th Cir. 2011) (quoting Tellabs, Inc. v. Makor Issues &

Rights, Ltd., 551 U.S. 308, 322 (2007)).

             To survive a Rule 12(b)(6) motion to dismiss, the plaintiff must plead

“enough facts to state a claim to relief that is plausible on its face.” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). However, a court reviewing a

complaint “[is] not bound to accept as true a legal conclusion couched as a factual

allegation.” Id. “A Rule 12(b)(6) motion to dismiss for failure to state a claim is

an appropriate method for raising a statute of limitations defense.” Mann v.

Adams Realty Co., 556 F.2d 288, 293 (5th Cir. 1977).

                                      ANALYSIS

             Defendant first moves to dismiss pursuant to Rule 12(b)(1) on the

basis that TARU lacks standing to assert claims in this case. (Dkt. # 13 at 3.)

Defendant then moves to dismiss pursuant to Rule 12(b)(6), arguing that Plaintiffs’

claims alleging violations of the Social Security Act are without merit because the

Fifth Circuit does not recognize a right of action under § 1983 to declare a state

agency’s administration of unemployment assistance programs violative of the

Social Security Act. (Id. at 7.) Additionally, Defendant contends that Plaintiffs’

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complaints that the TWC issued unemployment eligibility redeterminations after

the state law deadline should be dismissed because Plaintiffs have failed to state a

valid due process claim. (Id. at 10.)

      A.     TARU’s Standing

             Defendant asserts that TARU does not have standing because it is an

association, not an unemployed worker, and therefore it is not eligible for

unemployment benefits. (Dkt. # 13 at 4.) Defendant further contends that TARU

lacks associational standing. (Id.) For a federal court to have subject-matter

jurisdiction, the plaintiff must present a case or controversy under Article III of the

Constitution. TransUnion LLC v. Ramirez, 141 S.Ct. 2190, 2203 (2021). In other

words, the plaintiff must have standing. Id. To establish standing, the plaintiff

must show: (1) the plaintiff has suffered an injury in fact, (2) there is a casual

connection between the injury and the defendant’s conduct, and (3) the plaintiff’s

injury would likely be redressed through judicial relief. Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560−61 (1992).

             “Under Article III, federal courts do not adjudicate hypothetical or

abstract disputes.” TransUnion, 141 S.Ct. at 2203. The plaintiff must show an

“injury in fact that is concrete, particularized and actual or imminent.” Id. For an

injury to be “concrete,” it must be “real, and not abstract.” Id. at 2204. An injury-

in-fact cannot be “‘conjectural’ or ‘hypothetical.’” Susan B. Anthony List v.

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Driehaus, 573 U.S. 149, 158 (2014) (quoting Lujan, 504 U.S. at 560). For an

injury-in-fact to be “imminent,” “there must be at least a ‘substantial risk’ that the

injury will occur.” Stringer v. Whitley, 942 F.3d 715, 721 (5th Cir. 2019) (quoting

Susan B. Anthony List, 573 U.S. at 158). “[A]llegations of possible future injury

are not sufficient.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013).

             An organization can have associational standing. To have

associational standing, the organization must show: (1) that its members

independently possess Article III standing, (2) “the interests the association seeks

to protect are germane to the purpose of the organization,” and (3) the claim and

the relief requested does not require participation of the individual members. Ctr.

for Biological Diversity v. U.S. EPA, 937 F.3d 533, 536 (5th Cir. 2019).

             Defendant argues that TARU cannot meet the third element to

demonstrate associational standing. Defendant argues that Plaintiffs’ complaint

and requested relief indicate that TARU’s members’ participation in this case

would be essential because each individual TARU member has not had the exact

same experience with the TWC. (Dkt. # 13 at 4.) According to Defendant, each

individual case will have different fact patterns and involve different stages of the

administrative process by which the TWC reviews unemployment benefit claims,

including verifying identities, determining eligibility, and processing appeals. (Id.

at 4–5.) Because of this, Defendant asserts that assessing whether the TWC’s

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procedures are adequate would require the Court to look into each individual

member’s particular situation, and that each member would be required to

participate by offering testimony and providing evidence. (Id. at 5.)

             Plaintiffs respond that TARU has associational standing. Plaintiffs

contend that, although its members might have different, individual fact patterns,

their individual harms are the overall result of TWC’s systemic policies and

practices that may be proven by representative, rather than individual testimony.

(Dkt. # 21 at 5.) Additionally, Plaintiffs maintain that their complaint refers to

TWC’s practices and policies, and not its individual decisions. (Id. at 7.)

Therefore, according to Plaintiffs, TARU alleges common policies or practices that

affect its members equally, making its claims appropriate for associational

standing. (Id.)

             TARU’s standing depends on its ability to sue for redress of its

members’ grievances. Regarding the associational standing test, it is clear that

TARU satisfies the first and second prongs. Regarding the third prong, the

Supreme Court has determined that it is prudential, and “the general prohibition on

a litigant’s raising another person’s legal rights is a judicially self-imposed limi[t]

on the exercise of federal jurisdiction, not a constitutional mandate.” United Food

& Commercial Workers Union Local 751 v. Brown Grp., Inc., 517 U.S. 544, 557

(1996) (citations and quotations omitted). The third prong focuses on “matters of

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administrative convenience and efficiency.” Id. Courts assess this prong by

examining both the relief requested and the claims asserted. Cornerstone Christian

Schs. v. Univ. Interscholastic League, 563 F.3d 127, 134 n.5 (5th Cir. 2009).

             A party satisfies the third prong if its “claims can be proven by

evidence from representative injured members, without a fact-intensive-individual

inquiry.” Ass’n of Am. Physicians & Surgeons, Inc. v. Tex. Med. Bd., 627 F.3d

547, 552 (5th Cir. 2010). However, the third prong does not prohibit altogether

individual members of an organization from presenting evidence of their injuries.

“[A]n association may assert a claim that requires participation by some

members.” Hosp. Council of W. Pa. v. City of Pittsburgh, 949 F.2d 83, 89 (3d Cir.

1991) (cited with approval in Ass’n of Am. Physicians, 627 F.3d at 551–52).

             Generally, “an association’s action for damages running solely to its

members would be barred for want of the association’s standing to sue.” Brown

Grp., 517 U.S. at 546. “Conversely, requests for declaratory or injunctive relief

rarely require individual determinations.” Hunter v. Branch Banking & Tr. Co.,

No. 3:12-cv-2437-D, 2013 WL 4052411, at *7 (N.D. Tex. Aug. 12, 2013)

(Fitzwater, J.); see also Ass’n of Am. Physicians, 627 F.3d at 551.

             Plaintiffs’ complaint in this case seeks only declaratory and equitable

relief for TARU’s allegations that the TWC’s policies and practices have resulted

in the denial of TARU’s members’ rights. (See Dkt. # 12.) The claims alleged in

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the complaint do not appear to be the type that would require intensive analysis of

injuries sustained by individual members of the organization. Cf. Kan. Health

Care Ass’n, Inc. v. Kan. Dept. of Soc. and Rehab. Services, 958 F.2d 1018 (10th

Cir. 1992) (distinguishing claims that could be adjudicated with “a cursory review”

by the Court or “with minimal participation from individual [plaintiffs]” from

those where a court would have to “undertake a detailed evaluation” of individual

involvement). To the extent some individual participation by members is required,

such participation is not prohibited. Additionally, as Plaintiffs point out, the

individual participation of each of TARU’s members is not required because the

TWC itself likely has all the information it needs regarding each member’s

claims—the TWC would have all pertinent records regarding the procedures

afforded to TARU members in its possession. (See Dkt. # 21 at 7.) Accordingly,

the Court finds that TARU has associational standing, and it will not dismiss

TARU from the suit on this basis.

      B.     Plaintiffs’ Claims Under the Social Security Act

             Defendant next argues that Plaintiffs’ claims for violations of the

“when due” clause of the Social Security Act, § 503(a)(1), should be dismissed

because individual unemployment claimants are not explicitly granted “rights” by

the Social Security Act that can be brought pursuant to § 1983. (Dkt. # 13 at 6.) In




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other words, Defendant contends that Plaintiffs’ § 1983 claims based on

§ 503(a)(1) fail because that statute does not provide a private right of action. (Id.)

             In their complaint, Plaintiffs seek dual relief under § 1983 for

Defendant’s alleged violation of § 503(a)(1) of the Social Security Act, as well as

for violation of their due process rights pursuant to the Fourteenth Amendment.

(Dkt. # 12 at 37–41.) Section 1983 supplies a private right of action for “the

deprivation of any rights, privileges, or immunities secured by the Constitution and

laws” of the United States against persons acting under color of State law.

42 U.S.C. § 1983. Regarding their claims brought pursuant to the Social Security

Act, section 503 provides, in relevant part:

      (a) Provisions required

      The Secretary of Labor shall make no certification for payment to any State
      unless he finds that the law of such State, approved by the Secretary of Labor
      under the Federal Unemployment Tax Act, includes provision for—

             (1) Such methods of administration . . . as are found by the Secretary of
             Labor to be reasonably calculated to insure full payment of
             unemployment compensation when due; and

             (2) Payment of unemployment compensation solely through public
             employment offices or such other agencies as the Secretary of Labor
             may approve; and

             (3) Opportunity for a fair hearing before an impartial tribunal, for all
             individuals whose claims for unemployment compensation are denied;
             ...




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      (b) Failure to comply; payments stopped

      Whenever the Secretary of Labor, after reasonable notice and opportunity for
      hearing to the State agency charged with administration of the State law, finds
      that in the administration of the law there is—

             (1) a denial, in a substantial number of cases, of unemployment
             compensation to individuals entitled thereto under such law; or

             (2) a failure to comply substantially with any provision specified in
             subsection (a);

      The Secretary of Labor shall notify such State agency that further payments
      will not be made to the State until the Secretary of Labor is satisfied that there
      is no longer any such denial or failure to comply.

42 U.S.C. § 503 (emphasis added).

             To support his argument that there is no private right of action,

Defendant relies on Sherwood v. Richards, 2022 WL 408273, *1 (N.D. Ill. Feb. 10,

2022) for support. In Sherwood, an Illinois federal district court noted that nothing

in the text of § 503 grants a private right of action to sue a State for relief. Id. at 3

(“nothing in § 503 suggests an individual has a private right of action to sue the

State”). The court also recognized that the Supreme Court has previously held that

spending-power statutes like § 503, “do not confer private rights of action and has

‘reject[ed] the notion that [the] cases permit anything short of an unambiguously

conferred right to support a cause of action brought under § 1983.’” Id. (quoting

Gonzaga Univ. v. Doe, 536 U.S. 273, 283 (2002)). The Sherwood court further

noted that the Supreme Court had previously considered a cause of action premised

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on a California statute that conflicted with § 503(a)(1). See Java, 402 U.S. at 135.

In Java, “[t]he Supreme Court held that the California statute allowing benefits to

be stopped if an employer appealed ‘must be enjoined because it is inconsistent

with § 303(a)(1) of the Social Security Act.’” Id. The Sherwood district court thus

determined that absent an allegation that a state statute was inconsistent with the

requirements of § 503, “[a]ny claim that a State has not complied with its own

statute would not be a claim over which this Court has jurisdiction.” Sherwood,

2022 WL 408273, at *3.

             Here, like Sherwood, the provision of the Social Security Act

challenged—the “when due” provision of §503(a)(1)—explicitly binds the

Secretary of Labor. Importantly, it does not bind any State, including the State of

Texas. Instead, § 503(a) informs the Secretary of Labor to “make no certification

for payment to any State unless” that State’s law “includes provision” for

“payment of unemployment compensation when due” and an “[o]pportunity for a

fair hearing” for individuals “whose claims” are “denied.” Id. § 503(a)(1), (3).

Section 503 therefore requires nothing from a State—only something of the

Secretary of Labor. This is because, as the Seventh Circuit has noted, the

unemployment compensation is a “cooperative” program between the federal

government and State governments. See Zambrano v. Reinert, 291 F.3d 964, 971

(7th Cir. 2002) (Easterbrook, J., concurring). In such a program, Congress utilizes

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its “spending power to condition the receipt of federal funds on certain

requirements” and then “directs the Secretary” of the relevant agency “to withhold

federal funds” from State programs that do not “comply with [Congress’s]

conditions.” See Gonzaga, 536 U.S. at 278. Therefore, for a State to receive the

money from the federal government, they must comply with the requirements

outlined in the statute.

             As the district court asked in Sherwood, “[w]hat happens, then, when

the law of a State does not ‘include provision’ for payment when due or for

hearings before denying unemployment compensation?” Sherwood, 2022 WL

408273, at *3. The answer to this question is contained within the plain terms of

§ 503—the Secretary “shall make no certification for payment” to that State. See

id. The “when due” provision of § 503 speaks only to the Secretary of Labor

directing that “no certification for payment” shall be made “to any State” unless

provisions for administration and payment have provided for “when due.”

§ 503(a). Importantly, “nothing in § 503 suggests an individual has a private right

of action to sue the State to enforce the section.” Id. (citing Gonzaga, 536 U.S. at

290). This statement is further bolstered by the Supreme Court’s holding that “if

Congress wishes to create new rights enforceable under § 1983, it must do so in

clear and unambiguous terms.” Gonzaga, 536 U.S. at 287, 290 (determining that

spending power provisions that speak only to the Secretary with respect to funding

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are “two steps removed from the interest of individual[s and do] not confer the sort

of ‘individual entitlement’ that is enforceable under § 1983”) (emphasis in

original).

             The Court finds that, upon its independent analysis of § 503(a)(1),

there is nothing in in its language suggesting a private right of action. The Court

thus agrees with the finding in Sherwood that, with spending power statutes like

§ 503(a)(1), the Supreme Court “reject[ed] the notion that [the] cases permit

anything short of an unambiguously conferred right to support a cause of action

brought under § 1983.” Gonzaga, 536 U.S. at 283; Sherwood, 2022 WL 408273,

at *3; see also Sterling v. Feek, No. 3:22-cv-5250, 2022 WL 16699191, at *9

(W.D. Wash. Nov. 3, 2022). 1 And, unlike Java, there is no conflicting or


1
  Plaintiffs argue that the Supreme Court has already decided this issue in several
cases—Rosado v. Wyman, 397 U.S. 397 (1970), Edelman v. Jordan, 415 U.S. 651
(1974), and Maine v. Thiboutot, 448 U.S. 1 (1980)—each time concluding that
federal suits under § 1983 are proper to secure compliance with the provisions of
the Social Security Act on the part of participating States. (Dkt. # 21 at 8.)
Notably, however, plaintiffs in those cases did not challenge the “when due”
provision of § 503(a)(1) as in this case. Furthermore, these cases all significantly
predate the Supreme Court’s holding in Gonzaga. Additionally, Plaintiffs’ citing
of Fusari v. Steinberg, 419 U.S. 379 (1975), is not persuasive because the
challenge to the “when due” clause of § 503 in that case was brought pursuant to
the Due Process Clause of the Fourteenth Amendment only and not under the
Social Security Act.

Additionally, Plaintiffs’ comparison of the Medicaid statutes (Dkt. # 21 at 9 n.3) is
unhelpful because the Medicaid Act contains a direct requirement on state statutes,
whereas here the “when due” clause of § 503 imposes a duty on the Secretary of
Labor. Compare § 503(a)(1), with 42 U.S.C. § 1396a(a)(8), (10)(A) (“A State plan
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inconsistent state statute at issue in this case given that Plaintiffs allege only that

Defendant deprived them of “notice and opportunity to be heard during audit of

their claims” under § 503(a)(1). (Dkt. # 12 at 37 ¶260); Java, 402 U.S. at 135.

However, § 503 “is phrased as a directive to the Secretary of Labor and says

nothing about the rights of unemployment insurance beneficiaries to sue for

enforcement of § 503.” Sherwood, 2022 WL 408273, at *3. The Court thus

concludes that § 503(a)(1) does not confer a private right of action based on the

Social Security Act. Therefore, Plaintiffs’ claims based on §503(a)(1) will be

dismissed without prejudice. 2 Only the constitutional claims made pursuant to the

due process clause of the Fourteenth Amendment may go forward.

      C.     Plaintiff’s Second Cause of Action

             Defendant argues that Plaintiffs’ second cause of action, alleging

“untimely redeterminations of eligibility for audited claimants,” fails to assert a

Fourteenth Amendment due process violation. (Dkt. # 13 at 10.) Defendant

contends that the complaint is devoid of any factual allegations showing how



for medical assistance must . . . provide that all individuals wishing to make
application for medical assistance under the plan shall have opportunity to do so,
and that such assistance shall be furnished with reasonable promptness to all
eligible individuals . . . .”).
2
  As in Sherwood, pursuant to the Supreme Court’s rule in Java, the only way the
claims could be amended “would be if plaintiffs seek to enjoin [a Texas] statute
they allege to be inconsistent with § 503.” Sherwood, 2022 WL 408273, at *3.
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Defendant’s alleged “policy, custom, and practice of auditing unemployment

claimants’ claims in an untimely manner” violated any federal right. (Id.) Instead,

Defendant maintains that Plaintiffs’ factual allegations are limited to alleging the

TWC’s audits constitute untimely redeterminations in violation of the Texas Labor

Code § 212.053. (Id. (citing Dkt. # 12 at ¶82-92).) In other words, Defendant

contends that Plaintiffs possibly allege a violation of state law, but not any federal

right to due process. (Id.) The Court disagrees.

             To state a Fourteenth Amendment due process claim under § 1983, a

plaintiff must first identify a protected life, liberty or property interest and then

show that a governmental action resulted in a deprivation of the interest.

Gentilello v. Rege, 627 F.3d 540, 544 (5th Cir. 2010). The essential elements of

procedural due process under the Constitution are notice and an opportunity to

respond. Finch v. Fort Bend Indep. Sch. Dist., 333 F.3d 555, 562 (5th Cir. 2003)

(citing Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 542 (1985)).

             Plaintiffs’ complaint references the Texas Labor Code § 212.053,

which gives the TWC only 14 days to issue a redetermination of a claimant’s

eligibility. (See Dkt. # 13 at ¶82–92.) However, this statute does not appear to be

the basis of Plaintiffs’ due process claim alleged in count two. Instead, the state

statute is referenced by Plaintiff as background context of the claim. Plaintiffs

have alleged facts that, pursuant to the due process clause of the Fourteenth

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Amendment, the TWC’s alleged practice of conducting untimely eligibility audits

robs them of their due process rights because it denies them the opportunity to

have a hearing at a meaningful time. (Dkt. # 12 at 15–16.) Plaintiffs allege that,

because of the TWC’s failure to promptly act on information that may call a

claimant’s eligibility into question, claimants accrue a large balance of overpaid

unemployment benefits that the TWC then demands be repaid too long after the

claimants have already relied on the benefits for their subsistence. (Id.) Plaintiffs

have thus properly alleged a Fourteenth Amendment due process claim in count

two and it will not be dismissed.

                                    CONCLUSION

             Based on the foregoing, the Court will GRANT IN PART and

DENY IN PART Defendant’s First Amended Motion for Partial Dismissal. (Dkt.

# 13.) The Court GRANTS Defendant’s motion to dismiss as to Plaintiffs’ claims

based on violations of the Social Security Act, 42 U.S.C. § 503(a)(1), and they are

DISMISSED WITHOUT PREJUDICE. The motion is DENIED in all other

respects.

             IT IS SO ORDERED.

             DATED: Austin, Texas, March 22, 2023.




                                                   ______________________________________

                                          22       David Alan Ezra
                                                   Senior United States District Judge
